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      5   Attorney for Defendant,
          JOSE LUIS CABRERA-MENDOZA
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      8                         IN THE UNITED STATES DISTRICT COURT
      9                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                               *****
     11
                                                        ) Case No.: CR-F-04-5029 OWW
     12   UNITED STATES OF AMERICA,                     )
                                                        ) STIPULATION FOR CONTINUANCE
     13                Plaintiff,                       ) AND ORDER THEREON
                                                        )
     14         vs.                                     )
                                                        )
     15   JOSE LUIS CABRERA-MENDOZA,                    )
                                                        )
     16                Defendant.                       )
     17

     18         IT IS HEREBY STIPULATED between the Defendants, Jose Luis Cabrera-Mendoza
     19   and Guillermo Cabrera, by and through their respective attorneys-of-record, Anthony P.
     20   Capozzi and David Balakian, and Plaintiff, by and through Assistant United States Attorney,
     21   Laurel J. Montoya, that the Sentencing hearing now set for Monday, May 19, 2008, be
     22   continued to Monday, September 8, 2008, at 1:30 p.m.
     23         It is further stipulated by the parties that any delay resulting from this continuance
     24   shall be excluded on the following basis:
     25         (1)         Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of
     26                     justice served by taking such action outweighs the best interest of the
     27                     public and the defendant in a speedy trial;
     28

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                                                                                  Stipulation for Continuance
                                                                                               04-5029 OWW

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      1         (2)        Title 18, United States Code, Section 3161(h)(8)(B)(ii): that is
      2                    unreasonable to expect adequate preparation for pre-trial proceedings or
      3                    for the trial itself with the time limits established due to the complexity of
      4                    the case.
      5                                            Respectfully submitted,
      6   Dated: May 15, 2008
      7                                                  /s/ Anthony P. Capozzi
      8
                                                   ANTHONY P. CAPOZZI,
                                                   Attorney for Defendant,
      9                                            Jose Luis Cabrera-Mendoza
     10

     11   Dated: May 15, 2008
     12                                                   /s/ David Balakian
                                                   DAVID BALAKIAN,
     13
                                                   Attorney for Defendant,
     14                                            Guillermo Cabrera
     15

     16   Dated: May 15, 2008
                                                          /s/ Laurel J. Montoya
     17
                                                   LAUREL J. MONTOYA
     18
                                                   Assistant United States Attorney

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                                                                                    Stipulation for Continuance
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      1                                           ORDER
      2

      3         IT IS SO ORDERED. Good cause having been shown, the hearing set for May 19,
      4   2008 is vacated and continued to Monday, September 8, 2008 at 1:30 p.m.
      5         Additionally, time shall be excluded by stipulation from the parties and pursuant to
      6   18 USC §§ 3161(h)(8)(A) and 3161(h)(8)(B)(ii).
      7

      8   Dated: May 15, 2008
      9

     10
                                                 /s/ OLIVER W. WANGER
                                                 Honorable Oliver W. Wanger
     11                                          United States District Court Judge
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                                                                                Stipulation for Continuance
                                                                                             04-5029 OWW

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